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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
Vv. : Criminal No. 21-cr-179-RCL
RACHEL POWELL,

Defendant.

ORDER

Upon consideration of the United States’ motion to disclose items protected by Federal
Rule of Criminal Procedure 6(e) and sealed materials, it is hereby

ORDERED, that the motion is GRANTED, and it is further

ORDERED, that the United States may provide in discovery materials protected by
Federal Rule of Criminal Procedure 6(e), and it is further

ORDERED, that the United States may provide in discovery sealed materials, pursuant to
the previously entered protective order governing discovery, and it is further

ORDERED, that this Order also applies to the disclosure of the materials described above

to any co-defendants who may later be joined.

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Date: J} Ce, Cc: A
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HONORABLE ROYCE C, LAMBERTH
United States District Judge
